       Case 2:19-cv-01568-SS Document 18 Filed 03/26/19 Page 1 of 1 Page ID #:659

                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
  Case No.         CV 19-01568-SS                                                   Date   March 26, 2019
  Title            Host International, Inc. v. Unite Here, Local 11, et al.




  Present: The                    SUZANNE H. SEGAL, UNITED STATES MAGISTRATE JUDGE
  Honorable


             John Lopez                                          None                                 None
                 Deputy Clerk                         Court Reporter / Recorder                      Tape No.
                 Attorneys Present for Plaintiff:                     Attorneys Present for Defendant:
                      Not present                                                Not Present


          Proceedings: (IN CHAMBERS) ORDER REGARDING DEADLINE FOR FILING
                       CONSENT FORM


        This case was directly assigned to Magistrate Judge Suzanne H. Segal for all purposes pursuant to
the Central District of California’s Direct Assignment program. The deadline for filing consent forms is
42 days after service of the summons and complaint upon the first-served defendant, and within 42 days
by plaintiff after service upon the first-served defendant, although the parties may file the consent form at
any earlier time. If one party declines to consent, the case will be immediately reassigned to a randomly
selected District Judge and a different Magistrate Judge.

        There are no adverse consequences from declining to consent. All parties must expressly consent
for the Magistrate Judge to preside over the action.

       As one party has filed a substantive motion, the Court suggests that the parties file the consent
form, either consenting or declining to consent, at the earliest possible date. If the parties have any
questions regarding the consent program, they may contact: John Lopez, Relief Clerk to Judge Segal at
213-894-2554.
          IT IS SO ORDERED.
                                                                                                         :
                                                                 Initials of Preparer          jlo




 CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                      Page 1 of 1
